Case: 5:22-cv-01454-CEH Doc #: 32-11 Filed: 03/29/24 1 of 2. PagelD #: 250

EXHIBIT K

Case: 5:22-cv-01454-CEH Doc #: 32-11 Filed: 03/29/24 2 of 2. PagelD #: 251

wasn niall - HOU 1425 Refund Regarst

Beg Gmail Karl Forsell <fforee@gmall.com>

BCU 1626 Refund Request

16 massages

Kart-Lang Forsell <frs@fimi.nal> 44 Augusl 2014 al 14:27
Yo: FPGA Land <sales@{pgalend>

Dear Tom,

S hepe ihis email finds you well,

In light of the BCU1525 dallvery delay, and encouraged by your response to thls, as announced and reported In tha {pga
discard, | am requesiing a refund for 180 of the 192 BCU1526 (No RAM) boerds | have on order with FPGA Land wa the
fully paid and confirmed orders 1605, 1462, 1406, 1406, 1395, 1247, 1174, 1421, 1119, 1089, 1008, 4097, 1084, 1087,
4084, 4000, 1076 and 1042,

Please could you provide me with lie soonest {ime-frame as to when | could expect fo recelva the refund money in my
accounts),

Best,

Car

FPGA Land <seles@ipgaland> 44 August 2018 al 11:27
Reply-To: FPGA Land <sales@[pgaland>
To: Kar-Leng Forsell <frst@fiml.net>

AY Dinaca bps your reply above cis gues #7
Your request (577) has been racelvad and is being reviewad by our suppart slall.

To add additlonal comments, reply to tals email,
Kari-Leng Fersell
Auy f4, OUD PIE

noted beet deldeay}

This wuallis aservice frond FPGA Lage. Delivinvd by Zendask

Thomas Sense! (FPGA Land) <sales@{pgatand> 47 Augusl 2044 at 22:04
Reply-To: FPGA Land <sales@pga.land>
To: Karl-Leng Forselt <frsi@fmt.net>

28. Foace: type your engey alias tds Wee fa

Your raquesi (577) has beon updated. To add addifonal comments, reply to tis emalt,
Thomas Sensef (FPGA Land)
Aug 17, 20:00 peg
Karl,

That's not a problem, I'll naed a crypto address to refund your crypte and bankwire
orders to,

I'm placing your ticket on hold pending refund.

Aipsvinail googke. contnsall a Cit -B20805 (di Ader fowl Awatideperntiddthead a GAA tI AAS TOTO GG Les leap sg aR AA ORG SOS TIO) MIRAE... [AA

